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                                                            3:24-cv-2920


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                    Tennessee

                    037039                            03/20/2019




 New York                            04/11/2011                         Active

 Tennessee                           03/20/2019                         Active

 Texas                               11/16/2023                         Active

 Southern District of New York       06/07/2011                        Active




 N/A




 N/A




 N/A
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  Eastern District of New York          12/21/2021               Active
  Middle District of Tennessee          03/06/2019               Active
  Eastern District of Tennessee         08/24/2021               Active
  2nd Circuit Court of Appeals          08/29/2018               Active
